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                            IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                                          CRIMINAL ACTION

                    v.

COREY MUNFORD                                                     No. 15-376-7

                                                 ORDER

             AND NOW, this 12th day of January, 2021, upon consideration of Corey Munford's

Letters Requesting the Appointment of Counsel (Doc. Nos. 723, 724, and 734), his Motion for

Compassionate Release Pursuant to 18 U.S.C. § 3582(c)(l)(A)(i) (Doc. No. 737), his Second

Motion for Compassionate Release (Doc. No. 763), 1 the Government's Response in Opposition to

his Motions (Doc. No. 771), and Mr. Munford's letter dated December 12, 2020 (Doc. No. 776),

it is hereby ORDERED that Mr. Munford's Motions for Compassionate Release (Doc. Nos. 737,

763) and Mr. Munford's requests for the appointment of counsel 2 are DENIED for the reasons set

forth in the accompanying Memorandum.


                                                           BY THE COURT:




                                                       ~   UNITED STATES DISTRICT JUDGE




             The Court construes Mr. Munford's second motion for compassionate release as a supplement to
his first.
2
        Mr. Munford requested appointment of counsel in his earlier three letters, his two compassionate
release motions, and his December 12, 2020 letter.

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